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 1
 2
                                   UNITED STATES DISTRICT COURT
 3                               SOUTHERN DISTRICT OF CALIFORNIA
 4            MS. L, et al.,                               Case No. 18cv428 DMS MDD
 5                      Petitioners-Plaintiffs,
 6                                                         JOINT STATUS REPORT
              vs.
 7
              U.S. IMMIGRATION AND
 8            CUSTOMS ENFORCEMENT, et
 9            al.,

10                      Respondents-Defendants.

11
12           The Court ordered the parties to file a joint status report on July 23, 2018, in
13 anticipation of the status conference scheduled for July 24, 2018 at 3:00pm PST.
14
   The parties submit this joint status report in accordance with the Court’s instruction.
15
16 I.         DEFENDANTS’ POSITIONS
17        A. Update on Reunification Process
18
               The reunification plan outlined to the Court in Defendants’ filing on July
19
20       15, 2018, ECF No. 109, and discussed at the July 16, 2018 status conference, is
21
         proceeding. Defendants report the following with regard to the reunification of
22
         families with children ages 5-17: 1
23
24
     1
    The numbers provided are based on daily reports that have not been analyzed to
25 ensure as much accuracy as the government could ensure if it had several days to
26 analyze and verify each statistic. These numbers are from the daily report as of
   8:00 AM Eastern on July 23, 2018. While most numbers changed since the last
27
28

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 1            • Total number of possible children of potential class members
                identified: 2,551
 2
 3            • Potential class members possibly eligible for reunification: 1634

 4               o Class members successfully reunified in ICE custody: 879
                 o Class members in ICE custody interviewed and cleared for
 5
                   reunification, transport pending: 538
 6               o Potential class members in ICE custody pending interview: 0
                 o Potential class members in ICE custody pending child file review:
 7
                   0
 8               o Potential class members released to the interior by ICE: 217
 9
              • Potential class members, or non-members of the class, either not
10              eligible, or not yet known to be eligible, for reunification: 917
11
                  o Adults known to be in U.S. Marshal, State or local custody: 0
12                o At interview, parent waived reunification: 130
13                o Adults with prohibitive criminal record or deemed ineligible by
                     ORR or ICE: 64
14                o Case notes indicate adult is not in U.S., under review: 463
15                o Further evaluation: 260 (many of these children have been
                     discharged by ORR in appropriate circumstances)
16
17            • Class members with a final order of removal: 900

18            • Total number of reunifications or other appropriate discharges by
19              ORR: 1,187
20
21
22
23
24 status report due to significant progress in reunifications, some minor changes are
25 attributable to continual review of the case files. In the interest of providing
   information that is as up-to-date as possible, although not without the possibility
26 needing further correction, the numbers provided in Section A reflect the best
27 estimates the government has as of 8:00 AM Eastern on July 23, 2018.
28

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        B. Class Member Lists and Other Information For Plaintiffs
 1
 2         Defendants continue to provide Plaintiffs’ counsel the daily “cleared” list
 3
     when that list is updated. On July 20, 2018, Defendants provided Plaintiffs with a
 4
 5 list of class members who stated that they did not wish to be reunified with their
 6 children at the final interview with HHS. Defendants will provide an update to that
 7
     list on July 24, 2018. On July 20, 2018, Defendants provided Plaintiffs with a
 8
 9 spreadsheet containing updated information regarding 1601 class members. That
10 spreadsheet reflects whether those class members have a final order of removal,
11
     and whether they have been removed or released, or if they remained in ICE
12
13 custody, then their current detention location. For those class members who have
14 final orders of removal, Defendants are reviewing files to provide Plaintiffs’
15
     counsel with a list of those class members who have waived reunification prior to
16
17 removal.
18         In addition, Defendants had previously stated that on or before July 20,
19
     2018, Defendants would provide Plaintiffs with a list of class members who have
20
21 been removed, including the date of removal, country of removal, and last
22 detention location, and that on or before July 23, 2018, Defendants would provide
23
   Plaintiffs with a list of class members who have been released from ICE custody.
24
25 However, Defendants were not able to provide these lists because some of this
26 information is still under review. Defendants believe that some of the requested
27
28

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     information is contained in the spreadsheets that were previously provided to
 1
 2 Plaintiffs, and in an updated spreadsheet being provided to Plaintiffs today, July
 3
     23, 2018. However, Defendants are continuing to review their case notes and
 4
 5 intend to provide updated data on these two categories of class members as soon as
 6 possible.
 7
     II.   PLAINTIFFS’ POSITIONS
 8
 9         Plaintiffs have received no new information about Class Members from

10 Defendants since the hearing on Friday, July 20. In particular, Defendants have not
11
     provided the following information:
12
13         1.    A list of Class Members who have been removed from the country.

14 See Joint Status Report, Dkt. 124, at 3 (July 20, 2018) (stating that Defendants
15
     would provide this information by July 20).
16
17         2.    Updated lists of Class Members who have been “greenlighted” for

18 reunification. The last two such lists were sent by Defendants on July 16 and July
19
   20. See Joint Status Report, Dkt. 124, at 2 (stating that Defendants were providing
20
21 this list “on a daily basis when it is updated”).
22         3.    A complete list of the parents with final removal orders who signed a
23
     form electing to be removed without their children. These parents urgently need
24
25 consultations with lawyers, so that they do not mistakenly strand their children in
26 the United States, and Plaintiffs’ partners are ready to provide these consultations
27
28

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     immediately. Plaintiffs have been requesting this information each day since
 1
 2 Wednesday, July 18. According to the government’s representations, there may be
 3
     several dozen parents on this list, and they may not be identified in any list
 4
 5 Defendants have provided thus far. Plaintiffs respectfully ask the Court to order
 6 Defendants to provide this information by 5:00pm PT on July 24.
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